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Attorneys for the United States of Amen'ca
IN THE UNITED STATES DISTRICT COURT

FOR THE TERRITORY OF GUAM

UNITED sTATEs oF AMERICA, CRIMINAL CASE No. 1 7 ' 0 0 0 §_
Plaintiff,
vS- M&EM

VIOLETA E. MANAHAN,

Defendant.

 

 

The United States and Defendant, VIOLETA E. MANAHAN enter into the following

plea agreement
Charge and Penalties

1. Defendant agrees to enter a guilty plea to an information charging her with
Conspiracy to Distribute Methamphetamine Hydrochloride, in violation of 21 U.S.C. §§ 846 and
841(a)(1) and (b)(l)(C).

2. Defendant understands and acknowledges the following:

(a) Conspiracy to Distribute Methamphetamine, in violation of 21 U.S.C. §§ 846 and
841(a)(1) and (b)(l)(C), carries a maximum penalty of not more than twenty years

imprisonment, a $1,000,000.00 fine, or both, at least a three-year period of supervised release,

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and a $100 special assessment In addition to these maximum penalties, any violation of a
supervised release order could lead to an additional term of up to two years’ imprisonment,
pursuant to 18 U.S.C. § 35 83(e)(3). Defendant agrees to pay the special assessment at or before
sentencing

(b) The Defendant understands that by entering this plea of guilty the Defendant may no
longer be eligible for assistance under any state program funded under part A of title IV of the
Social Security Act (concerning Temporary Assistance for Needy Families) or benefits under the
food stamp program or any state program carried out under the Food Stamp Act. 21 U.S.C. §
862a. Ftu'ther, as a result of this conviction, the Defendant understands that she is no longer
eligible for any grant, contract, loan, professional license, or commercial license provided by an
agency of the United States or by appropriated funds of the United States. 21 U.S.C. § 862.

Voltgtariness & Waiver of Trial Rl;gh_ts

3. Defendant affirms that she has read this plea agreement and fully understands it.
Defendant acknowledges that she enters this plea agreement and her decision to plead guilty
voluntarily, and not because of any force, threats, promises or inducements, apart from the
promises and inducements set forth in this plea agreement She agrees to plead guilty because
she is in fact guilty of the charged offense.

4. Defendant acknowledges that she understands that by entering a plea of guilty,
she is waiving - that is, giving up -the following rights guaranteed to her by law and by the
Constitution of the United States:

(a) the right to plead not guilty and to persist in a plea of not guilty;
(b) the right to a jury trial;
(c) the right to be represented by an attorney and, if necessary, to have the Court

appoint counsel at trial and all stages of the proceedings;

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(d) the right at trial to confront and cross-examine witnesses against her;

(e) the right to remain silent at trial, with such silence not being used against her
in any way;

(f) the right, should she choose, to testify on her own behalf and to present
evidence;

(g) the right to compel Witnesses to appear at such a trial and to have them testify
on her behalf;

(h) the right not to be prosecuted except by an indictment returned by a grand
jury-
Defendant understands that any statement she gives under oath in connection With this guilty

plea may be used against her by the United States in a prosecution for perjury or false statement
Elements of the Offense & Factual Basis
5. Defendant understands and agrees that to establish the offense of Conspiracy to
Distribute Methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1) and (b)(l)(C), the
United States must prove each of the following elements beyond a reasonable doubt:
First: beginning on or about January 1, 2013 and ending on or about March 1,
2017, there was an agreement between two or more persons to distribute
methamphetarnine; and
Second: the defendant joined in the agreement knowing of its purpose and
intending to help accomplish that purpose.
6. The United States and Defendant stipulate and agree to the following facts:
(a) Defendant was born in 1960 and is a citizen of the United States.
(b) On or about February 18, 2015, a package addressed to Isabelle Arbues, 121A

Biradan Boy, Dededo Guam, 96929 was intercepted by U.S. Postal Inspectors and D.E.A.

Special Agents. The package contained 13.88 grams of methamphetamine with a purity level of

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42%. The package Was sent by Jimmy Law to Fidela Cabrera. VIOLETA E. MANAHAN
introduced Fidela Cabrera to supplier Jimmy Law in July 2013.

(c) On or about November 2, 2014, a package addressed to Mrs. Chong Dell Suk,
P.O Box 315982, Tamuning, Guam, 96931 was intercepted by U.S. Postal Inspectors and D.E.A.
Special Agents. The package contained 110.55 net grams of methamphetamine with a purity
level of 95%. The package was sent by supplier Jimmy Law to Richard Manahan and Donna
Mendiola. VIOLETA E. MANAHAN arranged for the package to be sent by Jimmy Law to
Richard Manahan.

(d) Beginning on or about January l, 2013, and ending on or about March l,
2017, there was an agreement between VIOLETA E. MANAHAN and Jimmy Law, a supplier in
the state of California, and other persons, including Richard Manahan, Donna Mendiola, Francis
Quitugua, Brian Bautista, Benjamin Saturnio, Rydell Manahan, and Geraldine Faj ardo, to
distribute methamphetamine in the District of Guam. VIOLETA E. MANAHAN would order
and receive quantities of methamphetamine that were sent to Guam through the U.S. mail and
through other means. The methamphetamine varied in quantities from grams to ounces, all of
which co-conspirator Jimmy Law provided to VIOLETA E. MANAHAN. VIOLETA E.
MANAHAN placed Jimmy Law in contact with individuals on Guam to receive the
methamphetamine VIOLETA E. MANAHAN provided these individuals with tracking
numbers for the packages containing methamphetamine Once the packages arrived on Guam,
co-conspirators would leave the package on a table at the residence of VIOLETA E.
MANAHAN to receive. VIOLETA E. MANAHAN collected money from the sale of the
methamphetamine She would then Wire the proceeds through Western Union to Jimmy Law.
VIOLETA E. MANAHAN received portions of the methamphetamine as a commission, which

she used for her personal use.

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VIOLETA E. MANAHAN joined in the agreement with two or more persons to
distribute methamphetamine on Guam, Defendant knew of the purpose of the agreement, that is
to distribute metharnphetamine, and intended to help accomplish that purpose.

(e) The parties agree that this stipulated statement of facts is sufficient to support
Defendant’s guilty plea. It is made for that limited purpose and does not contain all facts relating
to the underlying criminal conduct.

Sentencing Guidelines & Procedures

7. Defendant understands and acknowledges that:

(a) The Sentencing Guidelines apply in this case. In determining a sentence,
the Court is obligated to calculate the applicable sentencing guideline range and to consider that
range, possible departures or variances under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 3553(a);

(b) The United States will make its full discovery file available to the Probation
Office for its use in preparing the presentence report;

(c) The Court will rely on the facts established in this case - including, but not
limited to, the facts Defendant stipulates to in this plea agreement - in determining the applicable
offense level and resulting guideline range;

(d) Sentencing discussions between Defendant and defense counsel or between
defense counsel and the U.S. Attorney’s Office are not part of this plea agreement, and
Defendant is not relying on the possibility of any particular guideline range or sentence based on
any such discussions;

(e) No promises or guarantees have been made to Defendant regarding either the
guideline range or the sentence that Will be imposed. The Court is not required to follow the

Sentencing Guidelines or to accept any sentencing recommendations made by the United States

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or Defendant, and the Court may impose any sentence up to and including the maximum
penalties set out above. Pursuant to Rule ll(c)(l)(B) of the Federal Rules of Criminal
Procedure, if the Court does not accept a sentencing recommendation made by the United States,
Defendant nevertheless has no right to Withdraw her guilty plea.

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8. Defendant agrees to make a hall, complete and truthful statement regarding her
involvement in criminal conduct, as well as the involvement of all others known to her.
Defendant agrees to testify fully and truthfully at any trials or hearings Defendant understands
that this plea agreement is not conditioned on the outcome of any trial. Defendant further
understands, however, that this plea agreement is contingent on complete and truthful testimony
by Defendant in response to questions asked by the Court, the prosecutor, or lawyers for any
Party-

9. If Defendant provides self-incriminating information as part of her cooperation
regarding the unlawful activities of others, the United States agrees not to use such information
against Defendant at her sentencing Such information may be revealed to the Court but shall
not be used against Defendant in determining Defendant's sentence range. There shall be no
such restrictions on the use of information: (a) previously known to law enforcement agencies;
(b) revealed to law enforcement agencies by, or discoverable through, an independent source; (c)
in a prosecution for perjury or giving a false statement; or (d) in the event there is a material
breach of this agreement by Defendant

10. Defendant understands and agrees that her sentencing date may be continued by
the Court until after the indictment and trial of others, so as to enable the United States and the

Court to assess Defendant's cooperation

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Agreements of the United States

11. The United States agrees to recommend that the Court, in determining
Defendant’s sentencing guideline range, apply the maximum available reduction for acceptance
of responsibility. This recommendation, however, is based on facts currently known to the
United States and is contingent on Defendant accepting responsibility according to the factors set
forth in § 3E1.1 of the Sentencing Guidelines. The United States is free to withdraw this
recommendation if Defendant has previously engaged in any conduct which is unknown to the
United States and is inconsistent with acceptance of responsibility, or if he engages in any
conduct between the date of this plea agreement and the sentencing hearing which is inconsistent
with acceptance of responsibility.

12. The United States agrees to recommend at sentencing that the Court impose a
sentence at the low end of the applicable guideline range, If, however, the United States
determines that Defendant has provided substantial assistance in the investigation or prosecution
of another person, the United States agrees to move the Court at sentencing, pursuant to § 5Kl .l
of the Sentencing Guidelines and 18 U.S.C. § 3553(€), to impose a sentence below the otherwise
applicable sentencing guideline range. The determination of whether defendant has provided
such substantial assistance rests entirely within the discretion of the United States Attorney’s
Office. Defendant acknowledges that even if the United States makes such a motion, the Court
is not required to reduce Defendant’s sentence.

Financial Disclosure Obligations

13. Defendant agrees to submit to the U.S. Attomey’s Office, within three weeks of
the execution of this plea agreement, a complete, accurate and truthful financial statement and
accompanying releases, in a form it provides and as it directs. Defendant agrees to disclose all

assets in which she has any interest or over which she exercises control, directly or indirectly,

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including those held by a spouse, nominee or other third party. Defendant authorizes the U.S.
Attorney’s Office to obtain a credit report on her to evaluate her ability to satisfy any financial
obligation imposed by the Court.

14. Defendant understands and agrees that any monetary penalties imposed by the
Court will be due and payable immediately and subject to immediate enforcement by the United
States, pursuant to 18 U.S.C. § 3613. Defendant understands that, by law, interest accrues on
any remaining balance of the debt. Defendant agrees not to dissipate assets. If Defendant is
financially unable to immediately pay any monetary penalties in full, Defendant agrees: (a) to
cooperate with the United States Attomey’s Office; (b) to provide updated financial statements
upon request by the United States Attorney’s Office and to keep the office advised about
Defendant’s current address; and (c) for her debt to be placed on the Treasury Offset Program
and any tax renmd/rebate offset program existing in her state of residency. Defendant
understands that any funds captured by an offset program will be paid towards her monetary
penalties, but does not relieve her of her obligation to pay the monetary penalties in full.

Conseguences of Breach

15. Defendant agrees that if she is deemed by the Court to be in material breach of any of
her obligations under this agreement: (a) Defendant shall not be entitled to withdraw her plea of
guilty made in connection with this agreement; (b) the United States may, in its discretion and at
its option, declare null and void any of its obligations under this agreement; and (c) the United
States may recommend whatever sentence it may deem appropriate The issue of whether
Defendant is in material breach of this agreement shall be determined by the Court in a
proceeding at which the United States shall be required to establish breach by a preponderance of
the evidence. Defendant understands and agrees that the Federal Rules of Evidence shall not

apply at any such hearing, and that the United States may rely at the hearing on any statements or

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evidence Defendant may have given during cooperation with law enforcement
Waiver of Post-Sentencing Rights

16. Defendant voluntarily, knowingly and intelligently waives any right to appeal or to
collaterally attack any aspect of her conviction or sentence including, but not limited to, any
pretrial dispositions of motions and other issues. Defendant acknowledges and agrees that this
waiver shall result in the dismissal of any appeal or collateral attack Defendant might file
challenging her conviction or sentence in this case, other than an attack based on alleged
ineffective assistance of counsel, alleged involuntariness of the Defendant’s guilty plea, or
alleged prosecutorial misconduct

Conseguences of Witl_ldrawal of Guilg Plea or Vacating of Conviction

17 . Defendant agrees that if she is allowed to withdraw her guilty plea or if any
conviction entered pursuant to this agreement is vacated or rendered invalid for any reason, the
Court shall, at the request of the United States, reinstate any charges that were dismissed as part
of this agreement Defendant also agrees that within six months after the date the order vacating
or invalidating Defendant's conviction or allowing her to withdraw her guilty plea becomes final,
the United States may file additional charges against Defendant relating directly or indirectly to
the conduct underlying the guilty plea. Defendant waives her right to challenge any such
additional charges on the ground that they were not filed in a timely manner, including any claim
that they were filed after the limitations period expired

Completeness and Effect

18. Nothing in this plea agreement shall bind any federal, state or local districts,
jurisdiction or law enforcement agency, other than the United States Attorney for the Districts of
Guam and the Northern Mariana Islands.

19. Defendant acknowledges that this is the only plea agreement in this case. This plea

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agreement cannot be modified other than by a writing signed by all parties, or by a modification

acknowledged by all parties on the record in Court.

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VIOLETA E. MANAHAN
Defendant

DATED; 4 [{ H M

DATED :

 

 

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LEILANI LUJAN
Federal Public Defender

SHAWN N. ANDERSON
Acting United States Attomey
Districts of Guam and Nl\/II

BY:

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DATED:

 

ROSETTA L. SAN NICOLAS
Assistant U.S. Attorney

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